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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                                 Eastern Division

Hera Print, Inc.
                                                      Plaintiff,
v.                                                                 Case No.:
                                                                   1:23−cv−11244
                                                                   Honorable John J.
                                                                   Tharp Jr.
The Partnerships and Unincorporated Associations
Identified in Schedule "A", et al.
                                                      Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, October 30, 2023:


        MINUTE entry before the Honorable John J. Tharp, Jr:Defendants Vintatre,
Grecerelle, Kuotai, and Popyoung's emergency motion to enforce expiration of TRO [51]
is granted in part and denied in part. The Court will not order the plaintiff to inform
Amazon of the expiration of the TRO; the TRO will remain in effect as to the movants, as
well as the other two defendants that similarly appeared, filed timely objections to the
motion for preliminary injunction, and were ultimately excluded from the modified
preliminary injunction order [48]. This amounts to: defendants nos. 2, 5, 10, 11, 19, and
21 (collectively, the "Objecting Defendants"). The Court's extension of the TRO past the
28−day deadline pending resolution of the motion for preliminary injunction against the
Objecting Defendants is an appealable order pursuant to H−D Michigan, LLC v. Hellenic
Duty Free Shops S.A., 694 F.3d 827, 844−45 (7th Cir. 2012) (holding that a district court
may extend the duration of a TRO beyond the statutory limit and without consent of the
enjoined party until it reaches a decision on a preliminary injunction by technically
converting the TRO into an enforceable preliminary injunction subject to appellate
review). The briefing schedule on the motion for preliminary injunction as to the
Objecting Defendants set forth in the Court's prior order [47] remains in place. The
Objecting Defendants are granted leave to deposit funds into the Court's registry account
in the amount of $3,500.00 each. Such funds shall be held by the Clerk and shall not be
disbursed until further order of Court. Upon confirmation from the Clerk that any of the
Objecting Defendants have submitted the aforementioned funds, the asset restraints in the
Temporary Restraining Order dated September 26, 2023 [13] against any such defendants
shall be lifted. Mailed notice(air, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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